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“{COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Case No.: OB- MI- GS

UNITED STATES OF AMERICA, )
)
Plaintiff, ) ORDER OF DETENTION
)
. ) [Fed. R. Crim. P. 32.1(a) (6);
vs. ) 18 U.S.C. § 3143 (a)]
) ,
Sta Ray Mache Il
Defendant . )
)

 

The defendant having been arrested in this District pursuant to
a warrant issued by the United States District Court for the
9.8. C\ for alleged violation(s) of the terms and
conditions of his/her [probation] [supervised release] ; and
The Court having conducted a detention hearing pursuant to
Federal Rule of Criminal Procedure 32.1(a) (6) and 18 U.S.C. § 3143 (a),
The Court finds that:
A. (4 The defendant has not met his/her burden of establishing by
clear and convincing evidence that he/she -is not likely to flee"
if released under 18 U.S.C. § 3142(b) or (c). This finding.is -

based on no b— | fisorcey; yarernt A
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4 and/or

5} B. (XY) The defendant has not met his/her burden of establishing by
6 clear and convincing evidence that he/she is not likely to pose
7 a danger to the safety of any other person’ or the community if
8] réleased under 18 U.S.C. § 3142 (b) or (c). This finding is based

9 on: Cxteny Sn A hes roy
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14 IT THEREFORE IS ORDERED that the defendant be detained pending .
15! the further revocation proceedings.
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17] Dated: Vjieyes

 

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19 T. Sh

JENN{LFERYE. LUM
20 ‘UNI'PES STATES MAGISTRATE JUDGE

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